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                                UNITED STATES COURT OF APPEALS
                                       For the Eleventh Circuit



                                                No. 10-10168                               FILED
                                                                            U.S. COURT OF APPEALS
                                                                              ELEVENTH CIRCUIT
                                           District Court Docket No.             JAN 28, 2011
                                           6:09-cv-00055-BAE-GRS                    JOHN LEY
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 BENJAMIN BLOEDORN,	                                                                                         ii
                                                                                                            I,
                                                                                                                 -
                 Plaintiff- Appellant, 	
                                                                                              Cle4U..
versus
         	                                                                           -	           EloM
                                                                                             Av
DR. BRUCE GRUBE,
in his official capacity as President of Georgia Southern University,	                      1
DR. TERESA THOMPSON,
in her official capacity as Vice President of Student Affairs and Enrollment Management for Georgia
Southern University,
SUSAN NELSON,
in her official capacity as Facilities Use Coordinator of Georgia Southern University,
KENNETH BROWN,
in his official capacity as Director of Public Safety Department for Georgia Southern University,
CORPORALGEORGE HEMM,
individually and in his official capacity as Public Safety Corporal of Public Safety Department of
Georgia Southern University,

                 Defendants - Appellees.




                            Appeal from the United States District Court for the
                                       Southern District of Georgia


                                                JUDGMENT

It is hereby ordered, adjudged, and decreed that the attached opinion included herein by reference, is
entered as the judgment of this Court.

                                         Entered: January 28, 2011                            C-)

      AS                          For the Court: John Ley, Clerk of Court                     rn	       c
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                                           By: Nancy M. Gilman                                               U)

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 FEB 28 2011

 COURT OF
      Case 6:09-cv-00055-BAE-GRS Document 43 Filed 03/01/11 Page 2 of 45




                                                                        [PUBLISH]

                IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH                          FILED
                                                          U.S. COURT OF APPEALS
                                                            ELEVENTH CIRCUIT
                                   No. 10-10168                 JAN28, 2011
                                                                 JOHN LEY
                                                                   CLERK
                    D.C. Docket No. 6 :09-cv-00055-BAE-GRS

BENJAMIN BLOEDORN,
                                                          Plaintiff - Appellant,

   versus

DR. BRUCE GRUBE,
in his official capacity as President of Georgia Southern University,
DR. TERESA THOMPSON,
in her official capacity as Vice President of Student Affairs and Enrollment
Management for Georgia Southern University, et al.,

                                                          Defendants - Appellees.



                   Appeal from the United States District Court
                      for the Southern District of Georgia


                                (January 28, 2011)
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Before HULL and MARCUS, Circuit Judges, and WITITTEMORE,* District Judge.

MARCUS, Circuit Judge:

         Benjamin Bloedorn, a Christian evangelical preacher, appeals from the

denial of his motion for a preliminary injunction, which sought, on First

Amendment grounds, to enjoin Georgia Sbuthern University ("GSU" or the

"University") from enforcing its free speech policies regulating the access of

outside, non-sponsored speakers to the university campus and the permitting

scheme regulating the conduct of these speakers (collectively the "Speech

Policy"). On this preliminary record, Bloedorn has not shown that the district

court abused its discretion nor has he established a substantial likelihood of

success on the merits. Accordingly, we affirm.

                                               I.

         These are the essential facts adduced on the limited record presented to this

Court.

         On March 28, 2008, Bloedorn, an itinerant preacher who frequently seeks

out busy areas on college campuses to broadcast his evangelical message for four

to six hours at a time on continuous days, along with several companions, arrived

at GSU. Georgia Southern University is a state-funded public university with over


          Honorable James D. Whittemore, United States District Judge for the Middle District of
Florida, sitting by designation.

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18,000 students located in Statesboro, Georgia. Bloedorn's visit to this large

campus was sponsored neither by GSU nor by any affiliated University group or

organization.

       Bloedorn began preaching from a heavily trafficked grassy knoll next to

GSU's Russell Union Student Center and adjacent to the University's Pedestrian

Mall and Rotunda. Bloedorn's companions stood in the Pedestrian Mall. The

grassy knoll from which Bloedorn chose to speak was, as it turned out, GSU's

designated Free Speech Area. Notably, this is the only designated area on campus

where outside, non-sponsored speakers drawn from the general public may engage

in expressive conduct.

      Soon after Bloedorn began preaching, a University official approached

Bloedorn and informed him that, before he could use the Free Speech Area, he was

required to seek and obtain a permit from GSU. Bloedorn refused to comply with

the permitting process, deeming it an "affront" to his beliefs and arguing that it

violated his basic constitutional freedoms. Bloedorn resumed preaching. Again,

he was approached, this time by GSU Department of Public Safety Corporal

George Hemm, who explained that Bloedorn, as an outside, non-sponsored

speaker, could not speak on campus without a permit. Still again, Bloedorn

resumed preaching despite the officer's warning that he could be arrested for
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trespass. At that point, Laura McCullough, a Public Safety Captain, arrived on the

scene and asked Bloedorn to complete and submit a permit request form. For the

third time, Bloedorn refused to apply for a permit, whereupon he was arrested by

Corporal Hemm for trespass.'

      GSU's Speech Policy distinguishes between speakers who are members of

the GSU community or are sponsored by community members and those who are

drawn from outside of the University community and who are not sponsored by a

University group or member. The Speech Policy begins this way:

      It is the policy of Georgia Southern to permit the use of facilities by the
      general community in a manner which does not compete with the
      ongoing programs of the University. Speakers who are not sponsored
      by a campus organization may request permission to initiate a gathering
      on campus....

      If a non-campus speaker is approved, the University reserves the right
      to assign space and designate time frequency and length ofthe proposed
      activity. A typical length of time for a speaker is one and a half hours.
      Frequency should be no more than once a month under normal
      circumstances.

The Speech Policy also codifies the following "General Policies":

      A hearing may be called if it is determined that a speaker or speech will
      constitute or create a substantial likelihood of material interference with
      the normal orderly decisions and processes of the University or with the
      requirements of appropriate discipline. A hearing committee composed
      of two faculty members appointed by the President, two students
      appointed by Student Government, and the Vice President of Student


      1 The criminal trespass charge against Bloedom was later dropped.
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       Affairs will convene to review the speakers [sic] application. If a
       request is denied, the organization or the speaker may appeal to the
       President of the University, whose decision will be final.

       A hearing will be called if a speaker or speech advocates a call to action
       for any of the following:

       [1] [t]he overthrow of any government; [2] [t]he willful damage or
       destruction of property; [3] [t]he disruption of the University's regularly
       scheduled functions; [4] [t]he physical harm, coercion, or intimidation
       of the University's faculty, staff or students; [5] [o]ther campus disorder
       of a violent nature.

       The permit request form for outside, non-sponsored speakers directs the

applicant to provide the following basic information: name; organization

represented, if applicable; permanent mailing address; telephone number; type of

requested activity; preferred date(s), hour(s), and duration of requested activity;

primary topic or purpose of requested activity; equipment, literature and sound

enhancement devices to be used; proof of liability insurance, if applicable; and a

signature confirming that the applicant has read and agreed to GSU's policy

governing the use of campus facilities. The form is available both online and at

the Russell Union Student Center, and is exactly the same form that University

groups and members must use to reserve space on the campus. In assigning a date

and time to an outside, non-sponsored speaker, apparently it is GSU' s undisputed

practice to honor the speaker's requested date and time so long as the space is not

already reserved by another speaker. Any time an outside, non-sponsored speaker

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reserves the Free Speech Area, the University's Department of Public Safety is

notified, and two public safety officers are assigned to maintain security

throughout the duration of the event. From 2006 through August 2009, six

outside, non-sponsored speakers completed permit requests for the Free Speech

Area, and all six requests were granted.

      Pursuant to the terms of the Speech Policy, all outside, non-sponsored

speakers (like Bloedorn) may speak only in the designated Free Speech Area after

receiving a permit. Throughout the academic year, this prime campus location is

utilized by GSU's more than 18,000 students, as well as by University-sponsored

programs and by outside, non-sponsored speakers. GSU' s Assistant Director for

Facilities Susan Nelson explained the primacy of the location this way:

              The Free Speech area is located in a grassy area outside of the
      Russell Union Building and is in very close proximity to the Rotunda.
      The area has very heavy student traffic, including traffic for eating
      facilities and a bus stop for the Georgia Southern University bus service.

            During the academic year, the Free Speech area and Rotunda are
      heavily utilized by university students and/or for university programs.
      Students and university personnel may reserve space in the Rotunda for
      any number of purposes and events. During the academic year, this area
      as a whole is in use five out of seven days a week.

Undeniably, the Free Speech Area is situated at the crossroads of the University.

Indeed, as Bloedorn himself recognized, the Free Speech Area is "a focal point of
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student activity," and its surrounding areas "are excellent locations for [his]

message."

      More than a year after he was arrested and removed from the campus, on

July 13., 2009, Bloedorn commenced this civil rights action in federal district

court, pursuant to 42 U.S.C. § 1983 and 1988, against several employees of GSU,

including the President of the University, the Vice President for Student Affairs,

the Facilities Use Coordinator, the Director of the Public Safety Department, and a

Public Safety Corporal. Bloedorn claims that the Speech Policy deprived him of

his rights to free speech and due process, as well as the right to be free from

unreasonable seizure. Bloedorn says that he has been unable to return to the

campus to speak because he is fearful of re-arrest. In his complaint, Bloedorn

elaborates that ever since the arrest, he has wanted to return to the campus to speak

with students. He argues that the University's Speech Policy violates his

expressive rights in four discrete ways: (1) by prohibiting outside, non-sponsored

speakers from engaging in expressive conduct on the campus outside of the Free

Speech Area; (2) by requiring an outside, non-sponsored speaker to apply for a

permit 48 hours in advance; (3) by requiring the outside speaker to disclose basic

contact information on the permit request form; and (4) by restricting the speech of

an outside, non-sponsored speaker to one-and-one-half hours, once per month.


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       On November 24, 2009, a district judge in the Southern District of Georgia

denied Bloedorn's motion for a preliminary injunction. The district court,

evaluating the University campus as a whole, concluded that the entire campus

was a "limited public forum" and, as a result, analyzed all of GSU's time, place,

and manner restrictions on outside, non-sponsored speakers only for viewpoint

neutrality and reasonableness. Under this rubric, it determined that Bloedorn

could not show a substantial likelihood of success on any of his claims; because

Bloedorn had not demonstrated a substantial likelihood of success on the merits,

the court did not address any of the remaining requirements for a preliminary

injunction. Finally, the district court did not address Bloedorn's claim that the

University's prohibition on expressive conduct by an outside, non-sponsored

speaker anywhere on the campus, except the designated Free Speech Area,

violated the Constitution because Bloedorn lacked standing to raise this claim.

This interlocutory appeal followed.

                                         TI.

      At the outset, we are required to examine whether Bloedom has Article III

standing to bring these claims. Fla. Family Planning Council v. Freeman, 561

F.3d 1246 5, 1253 (11th Cir. 2009). All of the parties agree that Bloedorn bears the
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ultimate burden of establishing standing, and that to do so requires him to show

that:

        (1) the plaintiff. suffered an injury in fact -- an invasion of a legally
        protected interest which is (a) concrete and particularized and (b) actual
        or imminent, not conjectural or hypothetical; (2) there must be a causal
        connection between the injury and the conduct complained of -- the
        injury has to be fairly traceable to the challenged action of the
        defendant, and not the result of the independent action of some third
        party not before the court; and (3) it must be likely, as opposed to merely
        speculative, that the injury will be redressed by a favorable decision.

   (internal quotation marks omitted). Although Bloedorn did not seek a permit

from the University and did not attempt to speak anywhere on the campus other

than at the Free Speech Area, he has standing to pursue his claims concerning all

of the restrictions GSU has placed on outside, non-sponsored speakers.

        In the first place, Bloedorn did suffer an injury in fact that is both concrete

and imminent with respect to his ability to speak throughout the GSU campus.

.See jj In determining whether an injury is imminent, the law "requires only that

the anticipated injury occur within some fixed period of time in the future.

Immediacy, in this context, means reasonably fixed and specific in time and not

too far off. Am. Civil Liberties Union of Fla., Inc. v. Miami-Dade Cnty. Sch.

Bd., 557 F.3d 1177, 1193-94 (11th Cir. 2009) (internal quotation marks,

alterations, and citation omitted); Pittman v. Cole, 267 F.3d 1269, 1283 (11th Cir.

2001) ("[T]he injury requirement is most loosely applied -- particularly in terms of
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how directly the injury must result from the challenged governmental action

where First Amendment rights are involved, because of the fear that free speech

will be chilled even before the law, regulation, or policy is enforced.") (internal

quotation marks omitted). Moreover, a plaintiff need not expose himself to

enforcement of a law to challenge it in the First Amendment context; instead, "an

actual injury can exist when the plaintiff is chilled from exercising her right to free

expression or forgoes expression in order to avoid enforcement consequences."

Pittman, 267 F.3d at 1283 (internal quotation marks omitted). But, in order to

establish standing, the plaintiff must show that he has an unambiguous intention at

a reasonably foreseeable time to engage in a course of conduct arguably affected

with a constitutional interest, but proscribed by a statute or rule, and that there is a

credible threat of prosecution. LL

      As an outside, non-sponsored speaker, Bloedorn attempted to speak on the

campus, without knowledge that he was coincidentally standing in the Free Speech

Area, and was turned away from the campus as a whole, because he refused to

comply with the University's Speech Policy. He was arrested after refusing to

apply for a permit and refusing to comply otherwise with GSU's Speech Policy.

Bloedorn wanted to speak at various locations on the GSU campus without

obtaining a permit or otherwise having his expressive conduct limited, and the


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Speech Policy prevented him from so doing. Moreover, Bloedorn has averred that

he intends to return and proselytize on the GSU campus, but he has not done so

because of his fear of re-arrest. On this record, there is every indication that GSU

would re-arrest Bloedorn if he returned to campus to speak in the Free Speech

Area without a permit or, for that matter, to speak anywhere else on campus. This

is enough to establish an injury in fact that is actual, concrete, and particularized.

      Also, there is a causal connection between Bloedorn's injuries -- his

inability to speak in the open accessible areas of GSU and in the Free Speech Area

without complying with the permit requirements -- and GSU's Speech Policy.

Fla. Family Planning Council, 561 F.3d at 1253. As Bloedorn explained in his

affidavit, "[i]f not for the speech policy, and the actions of [GSU], I would return

to the open accessible areas of GSU and share my message." There is nothing else

preventing Bloedorn from spreading his message on the campus. Finally, there

can be little doubt that each of Bloedorn' s complained of injuries could be

redressed by a favorable decision in the case See Fla. Family Planning Council,

561 F.3d at 1253.

      In short, Bloedorn has standing to pursue his claims.

                                          III.




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         We begin our analysis with the unremarkable observation that a preliminary

injunction in advance of trial is an extraordinary remedy. United States v.

Jefferson Cnt y ., 720 F.2d 1511, 1519 (11th Cir. 1983). The purpose of the

preliminary injunction is to preserve the positions of the parties as best we can

until a trial on the merits maybe held. Univ. of Tex. v. Camenisch, 451 U.S. 390,

395 (1981). In order to prevail on an application for a preliminary injunction, the

plaintiff must clearly establish all of the following requirements:

        (1). . . a substantial likelihood of success on the merits; (2) irreparable
        injury will be suffered unless the injunction issues; (3) the threatened
        injury to the movant outweighs whatever damage the proposed
        injunction may cause the opposing party; and (4) if issued, the
        injunction would not be adverse to the public interest.

Am. Civil Liberties Union of Fla., Inc., 557 F. 3d at 1198 (internal quotation marks

omitted). If Bloedorn is unable to show a substantial likelihood of success on the

merits, we need not consider the other requirements. See Pittman, 267 F.3d at

1292.

        We review the district court's denial of a preliminary injunction generally

for an abuse of discretion, but we examine the legal conclusions on which the

denial is based de novo. Am. Civil Liberties Union of Fla.. Inc., 557 F.3d at 1198.

Moreover, we review the core constitutional facts de novo, unlike historical facts,




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which are measured only for clear error. i.ci± The difference between historical and

constitutional facts has been framed this way:

      [O]rdinary historical facts. . . . are facts about the who, what, where,
      when, and how of the controversy....

             By contrast, under the assumptions about the law that we have
      made for purposes of deciding this case, we must determine the "why"
      facts. Those are the core constitutional facts that involve the reasons the
      [defendant] took the challenged action.

             We must find the disputed "why" facts -- the motive facts --
      ourselves, as though the district court had never made any findings
      about them.

IL at 1206-07.
      It is by now clear that the First Amendment does not guarantee access to

property just because it is owned by the government. Cornelius v. NAACP Legal

Def. & Educ. Fund, Inc., 473 U.S. 788, 803 (1985). Rather, we are required to

examine the policy and practice of the government to determine whether it

intended to open a specific place for public discourse. See Ark. Educ. Television

Comm'n v. Forbes, 523 U.S. 666 1 677 (1998). Thus, by example, the mere fact

that the "Justice Department in Washington has a large auditorium, with a stage,

and so would be a suitable venue for a theatrical production" does not compel, the

conclusion that the First Amendment requires the Justice Department to make that

space available to the public for that purpose. Gilles v. Blanchard, 477 F.3d 466,


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469-70 (7th Cir. 2007). By the same token, the fact that a University may make a

discrete location on a sprawling campus available for public discourse does not

compel the conclusion that it must open the doors of all of its facilities for public

discourse.

      As the Supreme Court explained almost thirty years ago:

      A university differs in specific respects from public forums such as
      streets or parks or even municipal theaters. A university's mission is
      education, and decisions of this Court have never denied a university's
      authority to impose reasonable regulations compatible with that mission
      upon the use of its campus and facilities. We have not held, for
      example, that a campus must make all of its facilities equally available
      to students and nonstudents alike, or that a university must grant free
      access to all of its grounds or buildings.

Widmarv. Vincent, 454 U.S. 263, 267 n.5 (1981).

      In order to help answer whether government property may be utilized for an

expressive purpose by the general public, the courts have resorted to classifying

the character of the property. When a regulation in some way limits or bars the

use of government property as a forum for expression, we begin our analysis by

asking about the nature of the government property involved. United States v.

Frandsen, 212 F.3d 1231 1 1237 (11th Cir. 2000). Thus, the Supreme Court has

broadly discerned three distinct (although not airtight) categories of government

property for First Amendment purposes: traditional public fora, designated public

fora, and limited public fora. Sec. e.g.. Christian Legal Soc'v Chapter of the Univ.

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of Cal., Hastings College of the Law v. Martinez, --U.S. --, 130 S. Ct. 2971, 2984

n.h 1 (2010); Pleasant Grove Citvv.Summum,--U.S.--, 129 S. Ct. 1125, 1132

(2009). And, the degree of scrutiny we place on a government's restraint of

speech is largely governed by the kind of forum the government is attempting to

regulate. This is so because "the First Amendment does not guarantee the right to

communicate one's views at all times and places or in any manner that may be

desired." Heffron v. Int'l Soc'y for Krishna Consciousness, Inc., 452 U.S. 640,

647 (1981). Thus, "[t]he Government, like any private landowner, may preserve

the property under its control for the use to which it is lawfully dedicated."

Sentinel Cornmc'ns Co. v. Watts, 936 F.2d 1189, 1201 (11th Cir. 1991) (internal

quotation marks omitted). It is equally clear, however, that state-funded

universities, such as GSU, are government property, "not enclaves immune from

the sweep of the First Amendment." Heal y v. James, 408 U.S. 169, 180 (1972).

      Traditional public fora are public areas such as streets and parks that, since

"time out of mind, have been used for purposes of assembly, communicating

thoughts between citizens, and discussing public questions." Perry Educ. Ass'n v.

Perry Local Educators' Ass'n, 460 U.S. 37, 45 (1983) (internal quotation marks

omitted). Thus, a time, place, and manner restriction can be placed on a traditional

public forum only if it is content neutral, narrowly tailored to achieve a significant


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government interest, and "leavc[s] open ample alternative channels of

communication." Id.

       A designated public forum is "government property that has not

traditionally been regarded as a public forum" but that has been "intentionally

opened up for that purpose." Christian Legall Soc'X, 130 S. Ct. at 2984 n.11

(quoting Pleasant Grove City, 129 S. Ct. at 1132). To create a designated public

forum, the government must intentionally open up a location or communication

channel for use by the public at large. Cornelius, 473 U.S. at 802; see also Forbes,

523 U.S. at 677 ("The government does not create a designated public forum by

inaction or by permitting limited discourse, but only by intentionally opening a

nontraditional public forum for public discourse.") (internal quotation marks and

alteration omitted). And, "a school creates a designated public forum only when

school authorities have by policy or practice opened those facilities for

indiscriminate use by the general public." Bannon v. Sch. Dist. of Palm Beach

Cntv., 387 F.3d 1208, 1213 (11th Cir. 2004) (internal quotation marks omitted).

Just as with a traditional public forum, a time, place, and manner restriction can be

placed on a designated public forum only if it is content neutral, narrowly tailored

to achieve a significant government interest, and "leave[s] open ample alternative

channels of communication." Perry Educ. Ass'n, 460 U.S. at 45-46.


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      Finally, in the Supreme Court's nomenclature, a limited public forum may

be established when the government limits its property "to use by certain groups or

dedicate[s it] solely to the discussion of certain subjects." Christian Legal SQcy,

130 S. Ct. at 2984 n.1 1 (quoting Pleasant Grove City, 129 S. Ct. at 1132). Any

restrictions made on expressive activity in a limited public forum only must be

reasonable and viewpoint neutral. jçi at 2984. Reasonableness in this context

"must be assessed in the light of the purpose of the forum and all the surrounding

circumstances." Cornelius, 473 U.S. at 809. Moreover, the restriction "need not

be the most reasonable or the only reasonable limitation." jj at 808. In fact,

"[i ] mplicit in the concept" of a government forum that has not been opened widely

to the general public is the government's "right to make distinctions in access on

the basis of. . . speaker identity." Perr y Educ. Ass'n., 460 U.S. at 49. Thus, "a

speaker may be excluded from" a limited public forum "if he is not a member of

the class of speakers for whose especial benefit the forum was created."

Cornelius, 473 U.S. at 806; see also Good News Club v. Milford Cent. Scli., 533

U.S. 98, 106 (2001); Rosenber ger v. Rector & Visitors of the Univ. of Va., 515

U.S. 819, 829 (1995).

      In applying this nomenclature here, we cannot consider the GSU campus as

a singular whole. Instead, as the Supreme Court has instructed in Cornelius, the


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scope of the relevant forum is defined by "the access sought by the speaker,"

meaning that if a speaker seeks access only to a limited area of government

property, we must tailor our approach to "the perimeters of a forum within the

confines of the government property." 473 U.S. at 801. A university campus will

surely contain a wide variety of fora on its grounds. See Bowman v. White, 444

F.3d 967, 976-77 (8th Cir. 2006) ("[L]abeling the campus as one single type of

forum is an impossible, futile task."); Justice for All v. Faulkner, 410 F .3 d 760,

766 (5th Cir. 2005) ("The Supreme Court's forum analysis jurisprudence does not

require us to choose between the polar extremes of treating an entire university

campus as a forum designated for all types of speech by all speakers, or,

alternatively, as a limited forum where any reasonable restriction on speech must

be upheld."). Plainly, Georgia Southern University's campus contains a multitude

of facilities and land -- including classrooms, lecture halls, private offices,

laboratories, dormitories, a performing arts center, sports facilities, open spaces, a

botanical garden, a planetarium, a center for wildlife education, and a museum.

Thus, any attempt to affix a single label on so large and diverse a campus likely

would render the forum analysis meaningless.

      Today we are called on to examine separately two distinct areas of the GSU

campus where Bloedorn has sought to speak: the Free Speech Area, where outside,


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non-sponsored members of the general public are allowed to speak; and GSU's

sidewalks, Pedestrian Mall, and Rotunda, where only GSU-affiliated expressive

conduct is permitted. Our focus remains on GSU's intentions in establishing and

maintaining its property. See Cornelius, 473 U.S. at 802. Thus, we look first to

the policy and practice of the University and to the nature of the property and its

compatibility with expressive activity. See id.

A.	    Sidewalks, Pedestrian Mall. and Rotunda

      Bloedorn claims that GSU should be preliminarily enjoined from enforcing

its absolute ban on all expressive activity by outside, non-sponsored speakers on

the University's sidewalks or its Pedestrian Mall, and in its Rotunda. We are

unpersuaded.

      As we see it, each of these campus sites falls into the category of a limited

public forum. Again, a state-funded university is not a traditional public forum,

Widmar, 454 U.S. at 267 n.5, and GSU has expressed no intention to open these

areas to the general public for expressive conduct. The University has limited

these areas only for use by a discrete group of people -- the GSU community; its

students, faculty, and employees; and their sponsored guests. See Christian Legal

Soc'y, 130 S. Ct. at 2984 n. 11 (explaining that a limited public forum is

established when the government opens "property `limited to use by certain groups


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or dedicated solely to the discussion of certain subjects") (quoting Pleasant Grove

City , 129 S. Ct. at 1132)); ACLUv. Mote, 423 F.3d 438, 444-45 (4thCir. 2005).

This is precisely the definition of a limited public forum.

      Finally, the University is under no obligation to open its campus to outside,

non-sponsored speakers; the First Amendment does not guarantee access to

property for speech activities simply because the property is government-owned.

Cornelius, 473 U.S. at 803. Necessarily then, there is no requirement "that a

campus must make all of its facilities equally available to students and

nonstudents alike, or that a university must grant free access to all of its grounds

or buildings." Widmar, 454 U.S. at 267 n.5 (emphasis added).

      Contrary to Bloedom's suggestion, it is of lesser significance that the GSU

sidewalks and Pedestrian Mall physically resemble municipal sidewalks and

public parks. The physical characteristics of the property alone cannot dictate

forum analysis. United States v. Kokinda, 497 U.S. 720, 727 (1990). "Publicly

owned or operated property does not become a'public forum' simply because

members of the public are permitted to come and go at will." United States v.

Grace, 461 U.S. 171, 177 (1983). Instead, we look to the traditional uses made of

the property, the government's intent and policy concerning the usage, and the

presence of any special characteristics. See Greer v. Spock, 424 U.S. 828, 837-3 8


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(1976) (discussing the unique nature of military bases and the fact that these

circumstances must be taken into consideration); Tinker v. Des Moines Indep.

Cmty . Sch. Dist., 393 U.S. 503, 506 (1969) (noting the "special characteristics of

the school environment").

      Thus, by way of example, even though highway rest areas and municipal

parks often are physically identical, we have found that a highway rest area, unlike

a municipal park, is not a public forum precisely because "the government did not

intend to open the forum to the same panoply of activity permitted in" municipal

parks. Sentinel Commc'ns Co., 936 F.2d at 1204. Similarly, in Greer, the

Supreme Court found that, even though a military base permitted free civilian

access to certain unrestricted areas, the base was not thereby transformed into a

public forum; the presence of sidewalks and streets within the base did not change

that determination. 424 U.S. at 830, 835-38. And, in Kokinda, the Supreme Court

found that a postal sidewalk -- a sidewalk running between the parking lot and the

post office -- was not a traditional public forum because, although it was identical

in appearance to the nearby municipal sidewalk, it was not constructed "to

facilitate the daily commerce and life of the neighborhood or city," and it was "not

expressly dedicated. * . to any expressive activity" by postal service regulations.

497 U.S. at 727-28, 730. It is immaterial that, inevitably, some expressive conduct


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may occur in the forum because the law is clear that "the government does not

create a public forum by permitting limited discourse, but only by intentionally

opening a nontraditional forum for public discourse," icb. at 730 (internal quotation

marks and alterations omitted), and that the occurrence of expressive activity "in

the context of the forum created does not imply that the forum thereby becomes a

public forum for First Amendment purposes," Cornelius, 473 U.S. at 805.

      Even though GSU's campus possesses many of the characteristics of a

public forum -- including open sidewalks, streets, and pedestrian malls -- it differs

in many important ways from public streets or parks. See Widmar, 454 U.S. at

267 n.5. Perhaps most important, the purpose of a university is strikingly different

from that of a public park. Its essential function is not to provide a forum for

general public expression and assembly; rather, the university campus is an

enclave created for the pursuit of higher learning by its admitted and registered

students and by its faculty.

      Nor is this case like Grace, where the Supreme Court determined that the

sidewalks comprising the outer edges of the property of the United States Supreme

Court were indistinguishable from other public sidewalks in Washington, D.C.,

and, thus, constituted traditional public fora. 461 U.S. at 179-80. Here, the

sidewalks, Pedestrian Mall, and Rotunda are all contained inside of the GSU


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campus. All of the University's entrances are identified with large blue signs and

brick pillars, all of the buildings are identified with large blue signs, and all of its

parking lots have signs restricting their use to GSU community members.'

B.	    Free Speech Area

       On this limited preliminary injunction record, we conclude that the Free

Speech Area essentially falls into the category of a designated public forum. The

University's Speech Policy, which broadly allows expressive conduct both by

GSU-affiliated individuals and groups and non-sponsored outsiders alike in the

Free Speech Area, suggests strongly that GSU has intentionally opened this

specific and limited area of the campus "for public discourse." Forbes, 523 U.S. at

677 (internal quotation marks omitted). GSU has in no way limited this property

to use by a specific category of group or speaker, nor has it limited discussion to

certain topics or entirely prohibited expressive conduct on the premises. See

Christian Legal Soc' y, 130 S. Ct. at 2984 n.l 1; Gay Lesbian Bisexual Alliance v.

Pryor, 110 F.3d 1543, 1548 (11th Cir. 1997). Rather, the University has

intentionally opened this limited space at the crossroads of the campus to its

student body and to the general public without any restrictions on content. In


       2
          The appellant has not presented any evidence supporting the claim that the district court
erred in failing to analyze separately interior sidewalks falling within the geographic boundaries
of the GSU campus and perimeter sidewalks on Statesboro's public streets. We, therefore, have
no occasion to draw any such distinction on this limited record.

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short, because the Free Speech Area appears to have most of the essential

characteristics of a designated public forum, any time, place, and manner

restrictions placed on its use must be content neutral, narrowly drawn to achieve a

significant government interest, and leave open ample alternative channels for

communication. Perry Educ. Ass'n, 460 U.S. at 45-46; see also Bowman, 444

F.3d at 979.

                                         Iv.

      Having characterized the nature of the University's property at issue, we

turn to Bloedorn's specific challenges to its Speech Policy. First, appellant claims

that the University has impermissibly banned him from speaking on CjSU's

sidewalks and Pedestrian Mall and in the University's Rotunda. Again, we are

unpersuaded.

      In analyzing the constitutional validity of GSU's Speech Policy, we are

mindful of the Supreme Court's recent words:

      Our inquiry is shaped by the educational context in which it arises: First
      Amendment rights, we have observed, must be analyzed in light of the
      special characteristics of the school environment. This Court is the final
      arbiter of the question whether a public university has exceeded
      constitutional constraints, and we owe no deference to universities when
      we consider that question. Cognizant that judges lack the on-the-ground
      expertise and experience of school administrators, however, we have
      cautioned courts in various contexts to resist substituting their own
      notions of sound educational policy for those of the school authorities
      which they review.

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Christian Legal Soc' y, 130 S. Ct. at 2988 (internal quotation marks and citations

omitted).

      Because the University's sidewalks, Pedestrian Mall, and Rotunda are

limited public fora, any time, place, and manner restrictions made on expressive

activity need only be viewpoint neutral and reasonable; and the restriction need

not "be the most reasonable or the only reasonable limitation." Cornelius, 473

U.S. at 808. The regulation is constitutional so long as it is "reasonable in light of

the purpose which the forum at issue serves." Perr y Educ. Ass'n, 460 U.S. at 49.

      The GSU campus is government property dedicated to education and

learning by its accepted and registered students, as well as by its faculty and staff.

"[T]he State, no less than a private owner of property, has power to preserve the

property under its control for the use to which it is lawfully dedicated." U.S.

Postal Serv. v. Council of Greenburgh Civic Ass'ns, 453 U.S. 114, 129-30 (1981)

(internal quotation marks omitted). Indeed, implicit in the idea that a government

forum has not been opened widely and intentionally to the general public is the

government's right to draw distinctions in access based on a speaker's identity.

Perry Educ. Ass'n, 460 U.S. at 49. Thus, "a speaker may be excluded from" a

limited public forum "if he is not a member of the class of speakers for whose




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especial benefit the forum was created." Cornelius, 473 U.S. at 806; see also

Good News Club, 533 U.S.     at 106.

      Plainly, Bloedorn is not "a member of the class of speakers for whose

especial benefit the forum was created," Cornelius, 473 U.S. at 806, so he may be

constitutionally restricted from undertaking expressive conduct on the

University's sidewalks or its Pedestrian Mall or at its Rotunda. Nor, on this

limited record, can there be any doubt that GSU's Speech Policy is both viewpoint

neutral and reasonable. There is no record evidence suggesting (nor has Bloedorn

even alleged) that the ban on outside, non-sponsored speakers in these areas is

viewpoint-based; it applies equally to all outside, non-sponsored speakers. Nor is

there any record evidence even remotely suggesting that the University has ever

made any exception to this policy. Moreover, the policy is a reasonable one. It

appears to further GSU's interest in preserving its limited facilities and resources

for its more than 18,000 students, its faculty, and its employees. We add that GSU

has not denied outside, non-sponsored speakers from all access to its campus; the

University has only required them to speak in a designated Free Speech Area

located at the crossroads of one of the most highly trafficked areas of campus.

And, an outside speaker still may speak on the Pedestrian Mall or in the Rotunda if

he finds a GSU-affiliated sponsor. GSU has the right to preserve its campus for its


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intended purpose, and its method of doing so is both viewpoint neutral and

reasonable.

      In short, on this preliminary record, we cannot say that Bloedorn has clearly

established a substantial likelihood of success as to this claim. See Am. Civil

Liberties Union of Fla., Inc., 557 F.3d at 1198 (requiring the inovant for a

preliminary injunction to "clearly establish[]" that there is "a substantial likelihood

of success on the merits").

                                          V.

      Bloedorn also challenges several of the time, place, and manner restrictions

contained in the University's permitting scheme. But, on the record now before

us, Bloedorn has not shown a substantial likelihood of success on the merits on

any of these claims. The University's regime appears to be content neutral,

narrowly tailored to achieve a significant government interest, and leaves open

ample alternative channels for communication.

A	    Content Neutral

      To begin with, Bloedorri has not established that the permitting scheme

discriminates based on content. Moreover, there is little indication that the

University's Speech Policy or its practices have afforded its officials unbridled

discretion to assign the location, the time, or the length of the permits.


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      The Speech Policy is content neutral on its face. It does not discriminate in

any way based on who the speaker may be or on the nature of the topic the speaker

wishes to address. All outside, non-sponsored speakers must comply in the same

way with the policy by first obtaining a permit to use the designated Free Speech

Area. Indeed, Bloedorn has never even suggested that the Speech Policy's terms

allow GSU to discriminate against outside, non-sponsored speakers based on

content.

      Instead, Bloedorn seems to argue that the University's permitting scheme,

despite its content neutral language, is, in fact, content based because it reposes in

its officials broad discretion to covertly discriminate based on content. Our law

has long established that a permitting scheme would be content discriminatory,

and thus amount to an unconstitutional prior restraint on speech, if the government

exercised unbridled discretion to limit access to a particular public forum. Cooper

v. Dillon, 403 F.3d 1208, 1215 (11th Cir. 2005); Burk v. Augusta-Richmond

Cnty., 365 F.3d 1247, 1256 (11th Cir. 2004) ("Even a facially content-neutral

time, place, and manner regulation may not vest public officials with unbridled

discretion over permitting decisions."); Frandsen, 212 F.3d at 1236-37 (finding an

unconstitutional prior restraint where a National Park Service licensing scheme

gave a park official an unlimited time frame in which to grant or deny permits to


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protest in the park). The infirmity flowing from "unbridled discretion" is that it

allows the government official to reject or limit the permit application based on

improper content based considerations. Thomas v. Chicago Park Dist., 534 U.S.

316, 323 (2002) ("Where the licensing official enjoys unduly broad discretion in

determining whether to grant or deny a permit, there is a risk that he will favor or

disfavor speech based on its content.").

      In determining whether a permit policy is content based because it has

granted an official "unbridled discretion," we examine first "the purpose behind

the regulation." Cooper, 403 F.3d at 1215. And, "[a]s a general rule, laws that by

their terms distinguish favored speech from disfavored speech on the basis of the

ideas or views expressed are content based." Id. (internal quotation marks and

citation omitted). To avoid unbridled discretion, the permit requirements should

contain narrowly drawn, reasonable, and definite standards to guide the official's

decision. Burk, 365 F.3d at 1256.

      Thus, for example, in Burk, a panel of this Court found that a permit policy

unlawfully granted unbridled discretion where it required the applicant to provide

"an indemnification agreement in a form satisfactory to the attorney" for the city,

because it provided no guidance about the meaning of the term "satisfactory." 365

F.3d at 1256 (internal quotation marks omitted). And, in Frandsen, we found that


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a permitting scheme provided the official with unbridled discretion because it did

not enumerate a time period in which the official had to rule on the permit

application, instead requiring only that he issue a permit "without unreasonable

delay," without defining "unreasonable," thereby creating a situation where "[a]

park superintendent who does not agree with the political message to be espoused

could allow the permit request to sit on his desk for an indefinite period of time --

resulting in speech being silenced by inaction." 212 F.3d at 1240.

      The GSU permitting scheme does not employ vague or undefined standards.

While Bloedorn is correct that the GSU website contains a general statement that

GSU retains the authority to determine the time and location of the permitted

speech, GSU's actual policies and practices are more narrowly drawn than that.

We consider the actual policies and practices employed by the University, not just

the policy's text. See Forsyth Cnty . Ga. v. Nationalist Movement, 505 U.S. 123,

131 (1992) (explaining, in evaluating a claim of `unbridled discretion," that "we

must consider the [government's] authoritative constructions of the ordinance,

including its own implementation and interpretation of it").

      University officials may not exercise unbridled discretion in determining the

location of an outside, non-sponsored speaker's expressive activity. See, e.g, City

of Lakewood v. Plain Dealer Publ'g Co., 486 U.S. 750, 769-70 (1988). It is the


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express and undisputed policy of GSU that the Free Speech Area is the only venue

where an outside, non-sponsored speaker may undertake expressive conduct. And

there has been no showing that the University has deviated from this policy. Nor

do GSU officials appear to have broad discretion in assigning the date and time. It

is GSU's undisputed practice to issue a permit for a speaker's requested date and

time so long as the space has not already been reserved by another speaker or

group. Finally, the text of the Speech Policy does not afford unbridled discretion

in assigning the length of time for which the permit is granted, or the frequency.

The Speech Policy says that an outside speaker's "typical length of time" is one-

and-one-half hours and that "[firequency should be no more than once a month

under normal circumstances."

      Teresa Thompson, Vice President of Student Affairs and Enrollment

Management for GSU, averred in a supporting affidavit that the Speech Policy

"provides. . . that persons not affiliated with the University may reserve the Free

Speech area once a month for a period of one and one half hours." And, Bloedorn

has presented no evidence thus far that the University has ever granted a permit to

an outside, non-sponsored speaker to speak for a longer period of time or with

greater frequency. Nor does this limited record evince any pattern of favoritism

on the part of the University's officials. In short, GSU's permit application policy


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does not appear to grant USU unbridled discretion to determine the location, the

time, or the length of the allowed speech. The University appears to have

specifically drawn reasonable and definite standards, and applied those standards

consistently, indicating a "well-established practice." Burk,            365   F.3d at 1256.

B.	    Narrow Tailorüig

       Nor has Bloedorn shown a substantial likelihood that several of the time,

place, and manner restrictions are not narrowly tailored to serve significant

government interests.' A narrowly tailored time, place, and manner restriction on

speech does not "burden substantially more speech than is necessary" to further a

significant government interest. Ward v. Rock Against Racism, 491 U.S. 781, 799

(1989). So long as the policy is content neutral, the restriction "need not be the

least restrictive or least intrusive means of doing so." jçj at 798. Rather, the

government need only avoid "regulat[ing] expression in such a manner that a




          In his brief, Bloedom also challenges, for the first time on appeal, the Speech Policy
requirement that any distributed literature must identify the distributing organization or
individual. Because this issue was never raised in the district court, we decline to consider it
today. F.D.I.C. v. Verex Assurance, Inc., 3 F.3d 391, 395 (11th Cir. 1993) ("By well settled
convention, appellate courts generally will not consider an issue or theory that was not raised in
the district court."). Nor has Bloedom ever alleged that he was seeking or would seek to
distribute literature on the GSU campus. Accordingly, it is not clear, at least for now, that he has
established standing to pursue this claim because he has not shown any imminent injury as a
result of this time, place, and manner restriction. See Am. Civil Liberties Union of Fin., Inc., 557
F.3dat 1193-94.

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substantial portion of the burden on speech does not serve to advance its goals."

Id. at 799.

       We start then with the University's interests and ask whether they are

significant and whether the scheme avoids regulating speech in a manner that does

not service its goals. First, the University has a significant interest in regulating

competing uses of the Free Speech Area in order to ensure that diverse viewpoints

are heard and that the University's community members -- particularly the

students -- have ample access to scarce university facilities. See , Berger v. City of

Seattle, 569 F.3d 1029, 1041 (9th Cir. 2009) ("[U]nder appropriate circumstances,

a permitting requirement governing the use of a public open space can further a

legitimate interest in the regulation of competing uses of that space."); Bowman,

444 F.3d at 980-81 (holding that "the fostering of a diversity of uses of University

resources" is a significant government interest). We have no doubt that a

university's interest in protecting the educational experience of its students is a

significant one. See Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967) ("The

Nation's future depends upon leaders trained through wide exposure to [a] robust

exchange of ideas.. . .").

       The University also has a significant interest in ensuring safety and order on

campus, especially where the Free Speech Area is sited at a highly trafficked area


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of the campus, and the University employs a limited security force. "[A] State's

interest in protecting the safety and convenience of persons using a public forum is

a valid governmental objective." Heffron, 452 U.S. at 650 (internal quotation

marks omitted); see also Thomas, 534 U.S. at 323 ("Regulations of the use of a

public forum that ensure the safety and convenience of the people are not

inconsistent with civil liberties. . . .") (internal quotation marks omitted).

Furthermore, "consideration of a forum's special attributes is relevant to the

constitutionality of a regulation since the significance of the governmental interest

must be assessed in light of the characteristic nature and function of the particular

forum involved." Heffron, 452 U.S. at 650-51 (finding that "[t]he flow of the

crowd and demands of safety are more pressing in the context of' a state fair than

of a public street). And, in making this analysis, we focus not just on ensuring the

safety of the GSU community, but also on protecting the safety of the speaker

himself. Considering the attributes of the University's Free Speech Area -- its

outdoor location in one of the most highly trafficked areas of a campus with over

18,000 students that employs a limited number of security personnel (four or five

public safety officers are on duty at any one time) -- there can be little doubt that

considerations of safety are substantial.

      1.	    Disclosure Restriction


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      Bloedorn particularly challenges the University's requirement that an

outside, non-sponsored speaker must disclose his name, telephone number, and e-

mail address on the permit request form. As for this claim, he cannot clearly

establish a substantial likelihood of success on the merits. There is significant

evidence on this limited record that the disclosure restriction is tailored narrowly

enough to maximize GSU's significant interest in allocating access to the

University's scarce resource (the Free Speech Area), and In protecting the safety

and security of its community. The disclosure requirement allows GSU to contact

the applicant to alert him that his permit has been granted or denied, discourages

criminal activity, and provides basic contact information in the event anyone is

injured or any property is damaged. Notably, the University requires its own

students and other community members to disclose the very same information any

time they seek to reserve a campus area for a speech activity.

      History has taught us that sometimes registration requirements including the

obligation to disclose a speaker's name may chill potential speakers by eliminating

anonymous speech. .	     Watchtower Bible & Tract Soc' y of N.Y., Inc. v. Village

of Stratton, 536 U.S. 150, 166 (2002); McIntyre v. Ohio Elections Comm'n,        514

U.S. 334, 341-42 (1995) (After all, "a decision in favor of anonymity may be

motivated by fear of economic or official retaliation, by concern about social


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ostracism, or merely by a desire to preserve as much of one's privacy as

possible."). But, the GSU restriction requires only that Bloedorn identify himself

to the university officials who process his permit application; there is no

requirement that he provide his name or contact information to anyone else. In

that sense, he may remain an anonymous speaker. More importantly, we are hard-

pressed to think of an alternative scenario that would afford Bloedorn greater

anonymity while still allowing the University to have some way to contact him in

order to tell him that his permit has been approved, or to advise him of any

necessary rescheduling. Nor must we think of one, because, of course, the

restriction "need not be the least restrictive or least intrusive means of doing so."

Ward, 491 U.S. at 798.

      Quite simply, without the ability to contact outside, non-sponsored speakers

about the results of their permit applications, the University cannot efficiently or

effectively schedule the use of the highly-demanded Free Speech Area. We repeat

these undisputed facts: this is an area of campus that is heavily utilized; in fact, it

is in use five out of seven days a week during the academic year. And, because it

is apparently the choicest venue on campus to reach the widest audience, GSU

students and community members also compete for access to this space. We add

that, because we are dealing with a large university campus with a small security


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department, unlike a city street or park that may be protected by a far larger police

force, there is a real need to ensure the safety of students and visitors alike.

      2.	    48-Hour Notice Restriction

      Bloedorn also claims that the permitting scheme's requirement that all

outside, non-sponsored speakers obtain a permit to speak in the Free Speech Area

at least 48 hours in advance is not narrowly tailored to meet the University's

significant interest in maintaining safety and order on campus. Again, we are

unpersuaded that Bloedorn has clearly established a substantial likelihood of

success on the merits.

      OSU's safety concern is not only with protecting its more than 18,000

students and countless other community members, but also with protecting the

speaker from the thousands of individuals passing by the area every day. Crowds,

and potentially unruly ones, are inevitable in a highly trafficked area of a large

university campus. In fact, because of the location of the Free Speech Area, it is

unlikely that any speaker using the area would fail to attract attention.

      GSU claims that it needs 48 hours advance notice to prepare its Public

Safety Department to receive an outside, non-sponsored speaker. As we have

noted, GSU typically has only four or five public safety personnel patrolling the

campus at a time. Any time an outside, non-sponsored speaker reserves the Free


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Speech Area, the Department of Public Safety is notified, and two campus security

personnel are assigned. When required to so assign its officers, the Department of

Public Safety must alter its employee schedule to ensure that there are sufficient

public safety officers to patrol the rest of the campus. Advance notice of 48 hours

seems reasonably calculated to achieve a significant purpose. We add that the 48-

hour notice period is brief -- a mere two days. Other circuits have upheld

university permitting schemes that require significantly more advance notice.

See Bowman, 444 F.3d at 982 (finding that a 3-day notice requirement was

narrowly tailored to serve a significant interest in campus safety, because "a

university is less able than a city or other entity with police powers to deal with a

significant disruption on short notice"); Sonnier v. Cram, 613 F. 3d 436, 445 (5th

Cir. 2010) (upholding a 7-day notice requirement imposed by Southeastern

Louisiana University, because "[u]niversities are less equipped than cities and

other public fora (or designated public fora) to respond to disruptions on short

notice. Providing a university with advance notice allows the university to

adequately take care of any issues associated with the public speech or

demonstration that might hamper the university's ability to meet its primary goal --

the education of students.").

      I	     Time Restriction


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      Bloedorn also argues that the time restriction contained in the permitting

scheme -- the limitation of a permit to an outside, non-sponsored speaker to one-

and-one-half hours no more than once a month -- is not narrowly tailored to meet

the University's significant interests in regulating competing uses of the site and in

ensuring that its students have ample access to the facility. The University has

offered sufficient evidence on this limited record to show that the time restriction

is narrowly tailored to achieve its interest in providing the broadest access to this

scarce resource, thereby offering the students exposure to a wider variety of

viewpoints.

      The time restriction is not draconian. Under the policy, Bloedorn can speak

for an extended time period. One-and-one-half hours is longer than most college

lectures, than most television shows, and than many movies; it is no less time than

is generally allocated for a presidential debate, and it is substantially more time

than this Court affords for oral argument. Moreover, in context, it does not appear

to us to be an insubstantial amount of time when that speech occurs at the

epicenter of the campus near the Student Center, dining facilities, and a bus stop

for the GSU bus service, and where the venue itself is a scarce resource. The

University has offered, and Bloedorn has not challenged, that there appears to be a




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large number of university speakers who want to use the Free Speech Area, and

that the policy promotes the propagation of a wide variety of viewpoints.

       Although more debatable on this limited record, we think the requirement

that an outside, non-sponsored speaker is limited to once a month preliminarily

passes constitutional muster. In the words of Assistant Director of Facilities for

GSU Susan Nelson, the Free Speech Area and the adjacent Rotunda are "heavily

utilized by university students and/or for university programs"; the area is reserved

by "[s]tudents and university personnel . . . for any number of purposes and

events"; and "is in use five out of seven days a week." Again, the area is a very

scarce resource for which students and university programs appear to heavily

compete, and there is little doubt that the University may give its own students a

priority in using this scarce facility.

       Bloedorn points out, however, that the University conceivably could create

a wait list system, similar to the one suggested in dicta by the Eighth Circuit in

Bowman. See 444 F.3d at 98 1-82. But our analysis does not turn on what is

theoretically possible for the University to do. A valid time restriction need not be

the "least restrictive" or "least intrusive" means of achieving the significant

government interest. Ward, 491 U.S. at 798. We are not prepared today to impose

on GSU the added administrative burden of creating and monitoring a wait list and


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      Case 6:09-cv-00055-BAE-GRS Document 43 Filed 03/01/11 Page 42 of 45



of constantly communicating with individuals who are in no way affiliated with

the University. While Bloedorn has not shown a substantial likelihood that the

once-a-month restriction is not narrowly tailored, we do not foreclose the

possibility that, on a more ample record, he may be able to do so. The University

could have done more to explain just how "used" the Free Speech Area is during

the five school days in a week by the GSU community. Thus, for example, we

cannot tell how often the Free Speech Area, as opposed to the adjacent Rotunda, is

utilized by University students or for University programs. Nor are we told

precisely what "heavily utilized" means. But, we can say with confidence that, on

this preliminary injunction record, Bloedorn has not shown a substantial

likelihood of success concerning the frequency limitation imposed by the

University.

C. Ample Alternative Channels

       Finally, the record shows that the University has left open ample alternative

channels for communication for Bloedorn to get his message out to the student

body. This is an large campus located in Statesboro, Georgia. Surrounding the

campus on every side are public streets and sidewalks from which Bloedorn can

 1   tch his message to GSU community members as they enter and exit the campus

apparently without any limitations imposed by the University. Not only can GSU


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students walk from campus to the nearby streets of Statesboro, but GSU even runs

a bus service that transports students to a variety of off-campus locations.

Bloedom can avoid the limitations imposed by the permitting scheme simply by

speaking to students as they enter and exit the campus from GSU's several well-

marked entrance and exit points.

      Finally, Bloedorn could conceivably obtain sponsorship from one of the

countless GSU-affiliated organizations to speak on campus. And, if he were so

sponsored, Bloedorn would not have to comply with the limitations on outside,

non-sponsored speakers. Indeed, there is no evidence in this record that Bloedorn

made even the slightest attempt to. reach out to any GSU faculty, staff, students, or

affiliated organizations to find a sponsor.

      In as much as Bloedorn has failed to establish a substantial likelihood of

success on the merits as to any of his claims, we need not, and do not, examine

whether he has suffered irreparable harm, or whether a balance of the hardships

weighs in his favor, or, finally, whether the public interest would support the

issuance of a preliminary injunction. See Pittman, 267 F.3d at 1292.

      On this limited record, we

      AFFIRM.

                                                                 U.S.


                                                           By.
	

                          Case 6:09-cv-00055-BAE-GRS Document 43 Filed 03/01/11 Page 44 of 45

                                  UNIT EI) STATES COURT OF APPEALS FOR THE ELEV
                                                         BILL OF COSTS



    f3ENJAMIN BLOEDORN
                 Appellant

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    DR. BRUCE GRUBS. et al.
                ApPellee

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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT

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                                             February 28, 2011


 Scott L. Poff
 United States District Court
 125 BULL ST RM 308
 SAVANNAH, GA 31401-3762

Appeal Number: 1 0-10168-FF
Case Style: Benjamin Bloedom v. Dr. Bruce Grube, et al
District Court Docket No: 6:09-cv-00055-BAE-GRS


The enclosed certified copy of the judgment and a copy of this court's opinion are hereby issued as the
mandate of this court.

Also enclosed are the following:

 Bill of Costs

Original record on appeal or review, consisting of: two volumes.

The clerk of the court or agency shown above is requested to acknowledge receipt on the copy of this
letter enclosed to the clerk.

A copy of this letter, and the judgment form if noted above, but not a copy of the court 's decision, is
also being mailed to counsel and pro se parties. A copy of the court's decision was previously mailed
to counsel and pro se parties on the date it was issued.

Sincerely,

JOHN LEY, Clerk of Court

Reply to: James 0. Delaney
Phone #: 404-335-6113

Enclosure(s)


                                                                              MDT-1 Letter Issuing Mandate
